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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-09-296
                                                  §
                                                  §
GABRIEL GUZMAN-VILLA, et al.                      §


                                                ORDER

       The government filed an unopposed motion for continuance. (Docket Entry No. 68). The

defendants are unopposed to the continuance. The court finds that the interests of justice are served

by granting this continuance and that those interests outweigh the interests of the public and the

defendants in a speedy trial. The motion for continuance is GRANTED. The docket control order

is amended as follows:

       Motions are to be filed by:                     February 16, 2010
       Responses are to be filed by:                   March 2, 2010
       Pretrial conference is reset to:                March 22, 2010, at 8:45 a.m.
       Jury trial and selection are reset to:          March 29, 2010, at 9:00 a.m.


               SIGNED on February 1, 2010, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
